            Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 1 of 21




                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

FAÏZA HARBI                                    *
                                               *
                        Plaintiff,             *
                                               *
v.                                             *            CIVIL ACTION NO. 1:16-cv-12394-
                                               *            FDS
MASSACHUSETTS INSTITUTE OF                     *
TECHNOLOGY, and WALTER LEWIN                   *
                                               *
                        Defendants.            *

     PLAINTIFF, FAIZA HARBI’S, OPPOSITION TO DEFENDANT, MASSACHUSETTS
                INSTITUTE OF TECHNOLOGY’S MOTION TO DISMISS

     I.      FACTUAL BACKGROUND


          In August 2013, Ms. Harbi enrolled in the EDX ‘For The Love Of Physics’ course (8.01X)

taught by Mr. Lewin and promulgated and/or sponsored by “MIT”. The class began in September,

2013. Complaint, ¶ 6. Ms. Harbi decided to take the course due to her love of learning and to also

obtain a Certificate of Mastery from Professor Lewin due to his association with “MIT” and his

perceived reputation. Complaint, ¶ 7.

          Many EDX courses had a Facebook page where students can assist each other with

assignments. Complaint, ¶ 8. Because ‘For The Love of Physics’ did not have a page, Ms. Harbi

created one. Id. This was a closed group and students had to apply to join. Id. Ms. Harbi and the

other administrators could either accept or decline the request as well as ban users from the group.

Id. On November 24, 2013, Mr. Lewin requested to join the Facebook group. Complaint, ¶ 9.

          Thereafter, Ms. Harbi disclosed to Mr. Lewin that her concentration in class may be

affected by her medication, to which Mr. Lewin inappropriately responded with “what medication

do you take and why?” Complaint, ¶ 10. In another email shortly thereafter, Mr. Lewin asked

“what happened that caused your depression, to which Ms. Harbi responded by detailing her


                                                   1
         Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 2 of 21




history of being the victim of an abusive upbringing. Complaint, ¶ 11. Mr. Lewin responded to

Ms. Harbi’s detailed description of her past abuses with sexually explicit terminology, which was

just the beginning of numerous inappropriate emails and messages between him and Ms. Harbi.

Complaint, ¶ 12.

       Approximately three weeks after this initial contact, Ms. Harbi received a friend request

from Mr. Lewin on Facebook. Complaint, ¶ 13. Ms. Harbi” and Mr. Lewin then began

communicating by private messenger and eventually began messaging on Skype as well. Id.

Upon becoming Facebook friends with Ms. Harbi, Mr. Lewin explicitly suggested to Ms. Harbi

that becoming friends will help her to regain self confidence and also implied success in his

classes suggesting a quid pro quo relationship for success in his class. Complaint, ¶ 14.

       In early December 2013, the conversations between Ms. Harbi and Mr. Lewin turned even

more explicit, with Mr. Lewin disclosing to her that he “wanted her body in a sexual way.”

Complaint, ¶ 15. Ms. Harbi then explicitly stated to Mr. Lewin that she does not feel the same

way about him. Id. Mr. Lewin continued to improperly influence and sexually harass Ms. Harbi

online throughout her time as a student in the “MIT” EDX course, again implying that her success

with the class could be affected by her relationship with Mr. Lewin. Complaint, ¶ 16. Throughout

the subsequent months, “Harbi” did not break contact with Mr. Lewin for fear of being removed

from the EDX course. Complaint, ¶ 17. This fear stemmed in part from her past abuse. Id. In an

attempt to end Mr. Lewin’s persistent requests and continue with her education, Ms. Harbi sent

him revealing photographs. Id. At all relevant times Ms. Harbi believed that Mr. Lewin was

acting as an “MIT” professor and her completed class performance could be documented on a

professional resume as an “MIT” affiliated course. Id.

       Ms. Harbi and Mr. Lewin also communicated via Skype video sessions during which Mr.




                                                 2
          Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 3 of 21




Lewin performed sexually explicit acts including exposing his genitalia and masturbating.

Complaint, ¶ 18. Additionally, Mr. Lewin sent Ms. Harbi nude photographs on multiple

occasions, some of which were sent through his “MIT” email furthering confirming his

association with “MIT”. Id. Mr. Lewin used his “MIT” email to send not only explicit images,

but highly inappropriate written messages that, at all times relevant, were sent through the “MIT”

email server. Complaint, ¶ 19.

       In August 2014, upon realizing that the online sexual activity instigated by Mr. Lewin was

highly inappropriate, Ms. Harbi began to self-mutilate and was hospitalized. Complaint, ¶ 20.

Mr. Lewin’s online manipulation and sexual harassment seriously and profoundly exacerbated Ms.

Harbi’s symptoms. Complaint, ¶ 22. Mr. Lewin improperly used his association with “MIT” and

his position to induce Ms. Harbi to engage in an inappropriate relationship with his student in

exchange for her perceived belief that her academic performance was dependent on Mr. Lewin. Id.

       On October 7, 2014, Ms. Harbi reported Mr. Lewin’s conduct to “MIT” and also began

seeing a survival counselor. Complaint, ¶ 23. “MIT” conducted an investigation and on

December 2, 2014, informed Ms. Harbi of the results. Complaint, ¶ 24. “MIT” ultimately found

that Mr. Lewin’s conduct “violated “MIT’s” Policies and Procedures, including Sections 9.5

Policy on Harassment, 4.4 Conflict of Interest, 9.1 Personal Conduct and Responsibilities Towards

Students and Employees, and 9.7 Relations with Students and Student Conduct.” Complaint, ¶ 25

(See MIT’s Investigation report attached as Exhibit A of Plaintiff’s First Amended Complaint).

The investigation also brought to light that this was not the first instance of sexual harassment

perpetrated by Mr. Lewin. Complaint, ¶ 29.

      In response to Ms. Harbi’s complaints, “MIT” simply severed ties with Mr. Lewin and

prohibited him from accessing “MIT” resources. Complaint, ¶ 27. Nothing else was done by




                                                  3
             Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 4 of 21




“MIT” to assist Ms. Harbi with the harm Mr. Lewin and “MIT” had caused her. Id. In the

investigation report, “MIT” did not indicate that it would initiate any type of counseling for Ms.

Harbi or additional training sessions for their instructors, employees, staff or students to educate

them on sexual abuse on campus and in online course work. Complaint, ¶ 28.

    II.       STANDARD OF REVIEW

           In order to survive a motion to dismiss, the complaint must contain sufficient facts which,

if accepted as true, “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Although

evaluating the plausibility of a legal claim “requires the reviewing court to draw on its judicial

experience and common sense,” Iqbal, 556 U.S. at 679, the court may not disregard properly pled

factual allegations even if “it strikes a savvy judge that actual proof of those facts is improbable.”

Twombly, 550 U.S. at 556. Nor may a court attempt to forecast a plaintiff’s likelihood of success

on the merits—“a well-pleaded complaint may proceed even if . . . ‘a recovery is very remote and

unlikely.’” Id. (quoting Scheuer v. Rhodes, 416 U.S. 232, 236 (1974)). The relevant inquiry

focuses on the reasonableness of the inference of liability that the plaintiff is asking the court to

draw from the facts alleged in the complaint. Courts have also held that a high degree of factual

specificity is not required at the pleading stage. Guadalupe-Baez v. Pesquera, 819 F.3d 509, 517

(2016). At this stage, the Plaintiff’s complaint, together with the referenced documents, satisfy’s

the pleading requirements and sets forth sufficient facts to show a plausible claim for relief.


    III.      ARGUMENT

              A. Plaintiffs Title IX Claim Should Not Be Dismissed As Plaintiff Does Not Lack
                 Statutory Standing Under Title IX
           When a plaintiff alleges injury to rights conferred by a statute, there are two separate

standing-related inquiries that are pertinent: whether the plaintiff has Article III standing


                                                     4
          Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 5 of 21




(constitutional standing) and whether the statute gives that plaintiff authority to sue (statutory

standing). Katz v. Pershing, LLC, 672 F.3d 64, 75 (1st Cir. 2012). Statutory standing specifically

asks the question whether the statute gives that plaintiff authority to sue. Merriam v. Demoulas,

2013 U.S. Dist. LEXIS 77600, at *13 (D. Mass. June 3, 2013). In determining if a statute gives a

Plaintiff authority to sue, the court should look to the language of the statute, its legislative history

and administrative interpretations. Phillips v. St. George’s Univ., 2007 U.S. Dist. LEXIS 84674,

at * 11 (E.D.N.Y. Nov. 15, 2007).


        In arguing that Plaintiffs Title IX claim should be dismissed, Defendant erroneously only

focuses on Title IX’s language “no person in the United States” to argue that Plaintiff does not

have statutory standing to sue. To support their argument that Plaintiff does not have statutory

standing, Defendant highlights King v. Bd. Of Control, 221 F.Supp.2d 783 (2002) but fails to

acknowledge that this case provides direct support that Plaintiff does in fact have statutory

standing under Title IX. In King, the court held that Title IX protections did extend to students

outside of the United States who were studying in South Africa as a part of the Universities study

abroad program. Id. at 784. The court specifically held that Title IX in broad language, is not

limited by any exception for study abroad programs, and sweeps within its scope every single

university education program. Id. at 788. While Defendant merely focuses on the fact that Ms.

Harbi resided in France and did not participate in an educational program in the United States to

support their argument that Plaintiff does not have statutory standing, King clearly illustrates that

Title IX takes within its scope every single university education program, including MIT’s online

program. Moreover, MIT’s own school policies provide further support for Plaintiff’s claim that

Title IX protections not only apply to conduct that occurs on MIT’s campus but also extends to

students taking one of MIT’s online courses. Plaintiff’s position is the same whether the student



                                                    5
          Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 6 of 21




taking an online course is within the United States or in a foreign country. As articulated in MIT’s

report, MIT’s policies and procedures state that as a student in a virtual course offered through

MIT’s online educational platform, Ms. Harbi deserved the same respectful treatment and

common decencies that are encouraged and fostered by MIT’s policies for all members of the MIT

community and that are afforded to those students who attend classes on MIT’s campus. MIT’s

policy that students shall receive equal treatment whether they are taking a course offered online

or on MIT’s campus is in direct contradiction to MIT’s argument that Ms. Harbi does not have

standing under Title IX simply because she is a student from France taking one of MIT’s online

courses and thus MIT should be estopped from making that argument. Given the fact that Title IX

provides protection to every single university program and that MIT’s policies call for equal

treatment of students regardless of whether their course is offered on campus or online, Plaintiff

has plead facts sufficient to show that Plaintiff does have standing to sue under Title IX and MIT

should be estopped from asserting otherwise. Moreover, by offering such online courses MIT

voluntarily assumed all duties and responsibility attendant to such conduct. As its report indicates

MIT’s policies were to treat all students the same whether they are sitting in a classroom on MIT’s

campus or studying on line.


           B. Plaintiffs Title IX Claim Should Not Be Dismissed As Plaintiff Has Alleged
              Sufficient Facts That MIT Knew Or Should Have Known About Mr. Lewin’s
              Conduct And That MIT Acted With Deliberate Indifference
       In order to establish a claim under Title IX, a Plaintiff must allege facts sufficient to prove:

(1) she was subjected to harassment severe enough to compromise her educational opportunities;

(2) that the educational institution had knowledge of the harassment; and (3) that the institution

exhibited deliberate indifference to the harassment. Wills v. Brown Univ., 184 F.3d 20, 26 (1st

Cir. 1999). In regards to the knowledge that educational institutions must have, most courts have



                                                  6
           Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 7 of 21




stated that the actual notice standard does not set the bar so high that a school district is not put on

notice until it receives a clearly credible report of sexual abuse. See Doe v. Derby, 451 F.Supp.2d

438, 446 (D. Conn. 2006). In order to satisfy the deliberate indifference standard, a Plaintiff must

plead facts sufficient to support a finding that a school acted in violation of Title IX requirements

through grossly inadequate action or no action at all, resulting in sex discrimination against the

student. Hunter v. Barnstable Sch. Comm., 456 F.Supp.2d 255, 265 (2006).


        In arguing that Plaintiffs Title IX claim should be dismissed, Defendant erroneously claims

that Plaintiff has not alleged that MIT had any knowledge of Mr. Lewin’s alleged misconduct

towards Ms. Harbi before she reported it to MIT on October 7, 2014. While Defendant

specifically argues that Plaintiff has merely offered a conclusory allegation that MIT “knew or

should have known” that Mr. Lewin was engaged in inappropriate conduct towards Ms. Harbi,

Defendant ignores that Plaintiff has plead that many of the emails that were sent from Mr. Lewin

to Ms. Harbi were sent from Mr. Lewin’s MIT email account through MIT’s server. In an online

classroom context specifically, MIT should have been monitoring Mr. Lewin’s MIT email account

to ensure that every students right to freedom from sexual harassment under Mass. Gen. Laws ch.

214 § 1C was being protected.1 Not only should MIT have been monitoring Mr. Lewin’s MIT

email account, but it is well established law that they had the authority to do so as once Mr. Lewin

sent sexually explicit emails through his MIT email account, any reasonable expectation of

privacy that Mr. Lewin had in his emails was lost. See Falmouth Fire Fighters’ Union Local 1497

v. Town of Falmouth, 2011 Mass. Super LEXIS 362, at *8. Given the fact that MIT should have

been monitoring the communications that Mr. Lewin sent using his MIT email account, it


1
 The Plaintiff has filed a motion to amend her complaint to assert a claim for violation of Mass. Gen. Laws ch. 214 §
1C which provides for strict vicarious liability against MIT. See Doe v. Bradshaw, 2016 U.S. LEXIS 114748, at *47
(D. Mass. 2016).


                                                          7
          Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 8 of 21




necessarily follows that MIT should have known that Mr. Lewin was engaged in inappropriate

communications with Ms. Harbi prior to Ms. Harbi reporting it on October 7, 2014, had they been

monitoring these matters.


       Defendant further erroneously claims that Plaintiffs Title IX claim should be dismissed

because plaintiff did not make factual allegations that MIT had prior notice of sexual harassment

allegedly perpetrated by Professor Lewin against others. While Defendant asserts that Plaintiff

merely states that this was not the first instance of online sexual harassment perpetrated by Mr.

Lewin towards students in his online course without providing facts to support this claim,

Defendant ignores Mr. Lewin’s own admissions that he has in fact engaged in this type of

behavior before. Specifically, in MIT’s report, Mr. Lewin stated, “I had done that before through

Facebook. I taught another woman how to masturbate, and she learned she could do it.” Mr.

Lewin further acknowledged that he has sent sexually explicit pictures to someone else (Woman

A) “probably this year-very recently.” Mr. Lewin also stated that he sent “a different picture at a

different time” to another woman (Woman B), and also exchanged pornographic images ‘back and

forth” with her on Facebook. In response to Mr. Lewin’s disclosure that he had engaged in

sexually explicit conversations and sent sexually explicit pictures to other women, MIT merely

asked Mr. Lewin whether Woman A and Woman B were adults, meaning over the age of 18. The

MIT report does not indicate whether MIT inquired further in an attempt to determine if these

other women were students in Mr. Lewin’s online course or whether he did this to students in

classrooms. In fact, Mr. Lewin admitted that if he was presented with the same circumstance he

experienced with Ms. Harbi in a classroom setting, he would have done the same thing. Due to

this glaring failure to inquire, discovery is needed in this case in order to determine if MIT already

knew about these communications and if they knew that the other women receiving inappropriate



                                                  8
          Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 9 of 21




communications and pictures from Mr. Lewin were students in Mr. Lewin’s online courses or

classroom. Given the need for discovery on the exact knowledge that MIT had of Mr. Lewin’s

inappropriate communications with other women, Plaintiffs Title IX claim should not be

dismissed due to a lack of knowledge on the part of MIT. Moreover, an inference can be drawn

that MIT’s silence on these issues warrants further investigation.


        In considering the scope of the actual knowledge requirement in Title IX cases, some

courts have concluded that in a Title IX claim actual knowledge of discrimination can take the

form of knowledge about the alleged harasser’s conduct towards others which indicates some

degree of risk that the harasser would subject the plaintiff to similar treatment. See Bloomer v.

Becker College, 2010 U.S. Dist. LEXIS 82997, at *13 (D. Mass. Aug. 13, 2010). Stated another

way, the notice standard does not require that the offending instructor actually commit previous

acts of harassment against the student and that the student complained before the institution may

be held liable for the instructor’s subsequent repeated misconduct under Title IX. The actual

notice standard can be met when an appropriate official has actual knowledge of a substantial risk

of abuse to students based on prior complaints by other students. Bloomer, 2010 U.S. Dist. LEXIS

82997, at *14. In the instant case, the MIT report and Lewin’s admissions indentify several other

instances of inappropriate conduct between Lewin and other women. Unfortunately, the report

does not reveal whether these women were also students or whether MIT was aware of other

complaints. This glaring omission is highly suspect in light of the alleged thorough investigation

MIT is required to conduct under Title IX.


       The expectation on the part of the teacher that the student will submit to the unwelcome

sexual advances in exchange for favorable treatment in an educational program may be explicit or

implicit. Bloomer, 2010 U.S. Dist. LEXIS 82997, at *16. In the present case Ms. Harbi has


                                                  9
         Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 10 of 21




alleged sufficient facts to show that her submission to Lewin's unwelcome sexual advances were

tied to her success to the privileges of participating in the online MIT course. Moreover, Mr.

Lewin confirmed that he would guarantee her success in the course implying that their special

relationship would ensure success. A reasonable inference can be drawn at this stage of the

proceeding that Ms. Harbi tolerated Lewin's ongoing harassment in order to receive the full

benefits of her education in conjunction with the MIT online course program. Such allegations are

sufficient to state a claim for quid pro quo harassment under Title IX and a hostile educational

environment. Bloomer, 2010 U.S. Dist. LEXIS 82997, at *17.

       In supporting their argument that Plaintiffs Title IX claim should be dismissed, Defendant

relied on case law that is not analogous to the instant case to argue that Defendant did not act with

deliberate indifference to Ms. Harbi’s complaint. Defendant specifically refers to Fitzgerald v.

Barnstable Sch. Comm., 504 F.3d 165, 174 (1st Cir. 2007), where the court found that a school did

not act with deliberate indifference when upon learning of a student’s harassment on a school bus

the school reacted promptly to the complaint, commenced a full-scale and diligent investigation

and offered the student suitable remedial measures (emphasis added). In arguing that this case

provides sufficient evidence that Defendant did not act with deliberate indifference to Ms. Harbi’s

complaint, Defendant ignores that MIT did not in fact conduct a full-scale and diligent

investigation of Ms. Harbi’s complaint, did not offer any suitable remedial measures to Ms. Harbi,

and failed to take appropriate measures to address the known issue of sexual assaults on MIT’s

campus. Specifically, unlike Fitzgerald, where upon learning about the student’s harassment on a

school bus the school offered the student the remedial measure of changing her bus assignment, in

the instant case, Plaintiff has sufficiently pled that MIT did nothing to assist Ms. Harbi with the

harm that Mr. Lewin and MIT had caused her. An investigation is only the beginning of a schools




                                                  10
         Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 11 of 21




response under Title IX. The school is required to provide remedial measures including

appropriate and necessary counseling. As a result of this incident, Ms. Harbi began to self-

mutilate and was hospitalized and there was no attempt made by MIT to assist Ms. Harbi with the

psychological harm that she was suffering nor did MIT initiate any type of additional training

sessions for their instructors or students to educate them on sexual abuse on campus and in online

course work. Moreover, while Defendant claims that MIT conducted a prompt investigation of

Ms. Harbi’s complaint and thus did not act with deliberate indifference, Fitzgerald highlights that

not only is a prompt investigation required but also a full-scale and diligent investigation followed

by appropriate remedial measures. Id. MIT’s report created after Ms. Harbi’s complaint shows

that MIT’s investigation was wholly inadequate, not diligent, and incomplete. Specifically, in

MIT’s report, Mr. Lewin was extremely forthcoming with the fact that he had engaged in the same

type of inappropriate communications other women as he had with Ms. Harbi. MIT’s

investigation report admits that MIT could have pursued these other incidents, but MIT chose not

to. When Mr. Lewin made these admissions, MIT merely asked Mr. Lewin whether these other

women were adults, meaning over the age of 18. MIT’s response to Mr. Lewin’s statements in

regards to sexual communications with multiple women was wholly inadequate and not diligent as

MIT did not make any attempt to determine if these communications were perpetrated against

other adult women in MIT’s classroom or online courses that Mr. Lewin was teaching. Mr. Lewin

also admitted that he would treat female students in a classroom the same way. While discovery is

needed in this case in order to determine exactly why MIT did not prompt Mr. Lewin to reveal

more specific details about his communications with other women, this lack of inquiry at a

minimum supports an inference that MIT’s investigation of Ms. Harbi’s complaint was not

diligent and reasonable. It is also possible that MIT did discover facts regarding other




                                                 11
         Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 12 of 21




inappropriate conduct between Mr. Lewin and other students and chose not to include it as part of

the report. Courts have routinely found that an institution’s failure to properly investigate a claim

of discrimination can be seen as indication of deliberate indifference. Jennings and Keller v.

University of North Carolina at Chapel Hill, F.3d 686, 694 (4th Cir. 2014).


       Furthermore, MIT acted with deliberate indifference to Ms. Harbi’s complaint because

MIT knew through their duty to report on campus crime statistics under the Clery Act that there

was a significant amount of sexual misconduct occurring at MIT yet failed to take appropriate

measures to redress it. Specifically, according to MIT’s 2016 Clery Report, MIT reported that

between 2013 and 2014, there were 33 instances of rape and 16 instances of fondling. The failure

of MIT to take appropriate measures to redress these alarming statistics demonstrates MIT’s

deliberate indifference to Ms. Harbi’s complaint and sexual harassment in general. Given the fact

that MIT did not conduct a full-scale and diligent investigation of Ms. Harbi’s complaint, did not

offer Ms. Harbi suitable remedial measures, and did not address a known campus sexual assault

issue, Plaintiff has alleged facts sufficient to show that MIT acted with deliberate indifference. In

the matter of Leader v. Harvard University Board of Overseers, 2017 U.S. Dist. WL 1064160, at *

5 (D. Mass. March 17, 2017) the court denied Harvard’s motion to dismiss Plaintiff’s Title IX

claim and confirmed that the mere happening of an investigation by an educational institution is

insufficient to warrant dismissal of a Title IX claim. In the present case, the Plaintiff has not only

alleged inadequacy of the investigation but also MIT’s failure after the reported misconduct to

assist Ms. Harbi deal with the lost educational opportunity taken from her and the psychological

damage she suffered.


       Defendant also erroneously states that MIT did not act with deliberate indifference once

they had actual notice of Mr. Lewin’s sexual harassment. Defendant, however, fails to


                                                  12
         Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 13 of 21




acknowledge that MIT did not take adequate measures to ensure that Ms. Harbi, an online student,

knew of her Title IX rights. While this information may be available to students on MIT’s

campus, it was not equally made available to Ms. Harbi. Not only should this information have

been made available to Ms. Harbi as an online student, but MIT’s own policies require it as their

policies state that as a student in a virtual course offered through MIT’s online educational

platform, Ms. Harbi deserved the same respectful treatment and common decencies that are

encouraged and fostered by MIT’s policies for all members of the MIT community and that are

afforded to those students who attend classes on MIT’s campus. Thus, MIT’s failure to inform

Ms. Harbi of her Title IX rights is evidence of MIT’s deliberate indifference.


       Finally, MIT acted with deliberate indifference because of their failure to comply with

their own policies on sexual harassment and sexual harassment prevention. Courts have held that

a schools violation of their own policies does not alone establish deliberate indifference, however,

it can be reasonably inferred that a school violating their own policies is a factor in establishing

deliberate indifference for purposes of Title IX. See Moore v. Regents of the University of

California, 2016 WL 7048991, at * 2 (N.D. Cal. Dec, 5, 2016). Not only does case law support

the notion that a school diverting from their own policies may be evidence of deliberate

indifference, but MIT’s own harassment guidelines require that all students be educated about

these policies and that “everyone at MIT is expected to conform to MIT rules and policies.”

Despite this, MIT never even informed Ms. Harbi of her rights under Title IX.


           C. Plaintiffs Negligence Claim Should Not Be Dismissed As MIT Had a Duty To
              Prevent Mr. Lewin From Engaging in Misconduct Reasonably Foreseeable To
              MIT, Had a Statutory Duty To Plaintiff, a Special Relationship Duty, and a
              Voluntary Assumption of Duty




                                                  13
         Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 14 of 21




       Usually, “the question of negligence is one of fact for the jury. Only when no rational

view of the evidence warrants a finding that the Defendant was negligent may the issue be taken

from the jury.” Beaver v. Costin, 352 Mass. 624, 626 (1967) (quoting Luz v. Stop & Shop, Inc. of

Peabody, 348 Mass. 198, 203-204 (1964)). In order to prove a negligence claim a Plaintiff must

show: (1) a legal duty owed by defendant to plaintiff; (2) a breach of that duty; (3) proximate or

legal cause; and (4) actual damage or injury. Jorgensen v. Massachusetts Port Auth., 905 F.2d

515, 522 (1st Cir. 1990). In regards to a legal duty owed by a University, courts have held that

there is a duty of care owed by a college or university to their students. Leader v. Harvard

University Board of Overseers, 2017 U.S. Dist. WL 1064160, at * 5 (D. Mass. March 17, 2017).

Specifically, a college or university has a duty to prevent harm “only to those acts that are

reasonably foreseeable.” Kavanagh v. Trs. of Boston Univ., 440 Mass. 195, 203-04 (2003). While

it is generally true that “a person ‘do[es] not owe others a duty to take action to rescue or protect

them from conditions [h]e ha[s] not created,’” Massachusetts Law and the Restatement (Second)

of Torts recognize an exception to this rule under certain circumstances. These duties “arise out of

a special relations between the parties, which create a special responsibility, and take the case out

of the general rule.” Leader, 2017 U.S. Dist. WL 1064160, at *5.


       In arguing that MIT was not negligent, Defendant erroneously claims that MIT had no

legal duty to prevent Mr. Lewin from engaging in sexual harassment of students that was not

reasonably foreseeable to MIT. While Defendant claims that there is no plausible way that

Plaintiff can assert that MIT knew or should have known of Mr. Lewin’s conduct, Defendant

ignores Mr. Lewin’s own acknowledgment that he has in fact engaged in this type of behavior

before. In MIT’s report, Mr. Lewin acknowledged that he had sent sexually explicit pictures to

someone else (Woman A) “probably this year-very recently.” Mr. Lewin also stated that he sent



                                                  14
         Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 15 of 21




“a different picture at a different time” to another woman (Woman B), and also exchanged

pornographic images ‘back and forth” with her on Facebook. In response to Mr. Lewin’s

disclosure, MIT merely asked Mr. Lewin whether Woman A and Woman B were adults, meaning

over the age of 18. MIT notably did not make any attempt to determine if these other women were

students in Mr. Lewin’s classroom or online courses. Mr. Lewin also admitted that if the same

circumstances occurred in a classroom he would have acted in the same way. Due to this utter

failure to inquire, discovery is needed in this case in order to determine if MIT already knew that

the other women receiving inappropriate communications and pictures from Mr. Lewin were

students in Mr. Lewin’s online course which would make Mr. Lewin’s conduct towards Ms. Harbi

reasonably foreseeable to MIT.


        Moreover, in asserting that MIT had no legal duty to prevent Mr. Lewin from engaging in

misconduct that was not reasonably foreseeable to MIT, Defendant ignores Gebser v. Lago Vista

Indep. Sch. Dist., 524 U.S. 274, 292 (1998), where the court articulated that the number of

reported cases involving sexual harassment of students in schools confirms that harassment

unfortunately is an all too common aspect of the educational experience. While the court in

Gebser did not explicitly state that because sexual harassment is common place in schools it is

reasonably foreseeable, it can be reasonably inferred from the court’s reasoning that correlation

was implicitly intended. Moreover, sexual assaults and harassment of women on MIT’s campus

were reasonably foreseeable to MIT through their duty to report on campus crime statistics under

the Clery Act and the widespread attention that sexual assaults on college campuses was given by

the recent flurry of media reports covering this epidemic. According to MIT’s 2016 Clery Report,

MIT reported that between 2013 and 2014, there were 33 instances of rape and 16 instances of

fondling. Moreover, in 2014, former President Barack Obama launched the “It’s on Us” initiative



                                                 15
           Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 16 of 21




to bring awareness to help end sexual assaults on college campuses. During this initiative,

statistics showed that one in five women were sexually assaulted during their college years. These

statistics were also confirmed by the 2011 Dear Colleague Letter that was issued to all educational

institutions that also found that about 1 in 5 women are victims of completed or attempted sexual

assault while in college.2 These alarming numbers indicated that sexual assault and harassment

were reasonably foreseeable by MIT. Due to the statistics that highlight that sexual harassment in

schools is in general reasonably foreseeable to educational institutions and the need for more

discovery, Plaintiffs negligence claim should not be dismissed. Similarly, due to the high

incidents of sexual assaults and harassment of students, MIT conducted a survey in 2014 which

revealed the troubling statistical evidence of sexual assaults and harassment on MIT’s campus

where 17% of all female students reported experiencing sexual assault.


         In further arguing that Plaintiffs negligence claim should be dismissed for a lack of legal

duty owed to Plaintiff by Defendant, Defendant fails to acknowledge that MIT also had a statutory

duty to Plaintiff under Mass. Gen. Laws ch. 214 §1C. According to Mass. Gen. Laws ch. 214

§1C, “a person shall have the right to be free from sexual harassment.” Specifically, in Doe v.

Bradshaw, 2016 U.S. LEXIS 114748, at *47 (D. Mass. 2016) the court held that chapter 214

confers strict vicarious liability on an educational institution for sexual harassment by any

employee vested with authority to care for and/or supervise students. Therefore, Bradshaw stands

for the expressed ruling that Mass. Gen. Laws ch. 214 §1C confers a legal duty on schools by

holding a school vicariously liable for sexual harassment by its employees and imposing a strict

liability duty on schools to monitor their employees in order to prevent those employees from

sexually harassing students. A schools failure to uphold that duty will ultimately result in liability

2
  In April 2011 the Department of Education, Office of Civil rights issued a warning to all educational institutions
throughout the country reminding them of their responsibilities to protect students from sexual harassment.


                                                          16
         Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 17 of 21




under Mass. Gen. Laws ch. 214 §1C. Given the fact that Plaintiff has sufficiently alleged that

MIT had a statutory duty to prevent sexual harassment by its employees, including Mr. Lewin,

Plaintiffs negligence claim should not be dismissed.


       In arguing that Plaintiffs negligence claim should be dismissed for a lack of legal duty

owed to Plaintiff by Defendant, Defendant ignores that MIT had a duty to Plaintiff that arose out

of a special and/or contractual relationship between the parties and/or arose out of MIT’s

voluntary assumption of duty. The issue of imposing a duty onto a university out of a special

relationship between the university and a student arose in Leader v. Harvard University Board of

Overseers, 2017 U.S. Dist. WL 1064160, at * 5 (D. Mass. March 17, 2017), where the court used

Restatement (Second) of Torts § 314A cmt. b, which recognizes that a duty can arise out of special

relations between the parties, to find that Harvard University had a duty of care towards a student

as a result of the university-student relationship. As the court found in Leader, in the instant case,

MIT also owed Ms. Harbi a duty of care that arose out of the university-student relationship that

existed. Moreover, in Leader, the court also held that since the case law was not completely

settled on the scope of the special relationship duty presented in the case and the fact that the case

was only at the motion to dismiss stage, the court should accept that the first element of the

negligence claim is established against Harvard University. As the instant case is only at the

motion to dismiss stage, the court should similarly accept that the first element of the negligence

claim against MIT is established and not dismiss the negligence claim and allow the jury to make

a determination on the scope of the special relationship duty between Ms. Harbi and MIT. These

issues can be revisited in a motion for summary judgment.


       MIT also voluntarily assumed a duty of care towards its students by establishing policies

prohibiting sexual harassment by teachers and holding teachers accountable for such foreseeable


                                                  17
         Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 18 of 21




misconduct. As admitted by MIT in its report, MIT provided Ms. Harbi with the same rights and

privileges accorded to MIT students attending classes on their campus. Because MIT had a

contractual and voluntary duty to protect the Plaintiff against sexual harassment by Mr. Lewin, the

Plaintiff’s negligence claim should not be dismissed.


           D. Plaintiffs Claim for Negligent Infliction of Emotional Distress Does Not Fail as
              Plaintiff Has Alleged that Defendant Owed Plaintiff a Duty of Care
       In order to state a claim of negligent infliction of emotional distress a Plaintiff must show:

(1) negligence; (2) emotional distress; (3) causation; (4) physical harm manifested by objective

symptomatology; and (5) that a reasonable person would have suffered emotional distress under

the circumstances of the case. Conley v. Romeri, 60 Mass. App. Ct. 799, 801 (2004).

Specifically, there must be a showing of a duty of care owed to the plaintiff, because there can be

no negligence where there is no duty. Id. The issues of causation and whether a reasonable

person would have experienced such emotional distress under the circumstances are undoubtedly

questions for a jury. See Selfridge v. Jama, 172 F.Supp.3d 397, 424 (2016).


       In claiming that Plaintiffs negligent infliction of emotional distress claim should be

dismissed, Defendant erroneously argues that Plaintiff has not alleged facts to support the

existence of any legal duty that Defendant owed to Plaintiff. While Defendant argues that

Plaintiffs negligence claim does not state a claim for relief because she has not stated any legal

duty that Defendant owed to Plaintiff, as discussed above, Plaintiff has alleged sufficient facts

indicating that MIT had a legal duty to prevent Ms. Harbi’s harm that was reasonably foreseeable

to MIT and a statutory duty under Mass. Gen. Laws ch. 214 §1C to monitor the conduct of MIT

employees. Given the fact that Plaintiff has alleged facts to support the existence of a legal duty




                                                 18
         Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 19 of 21




owed by MIT to all students, including Ms. Harbi, Plaintiffs negligent infliction of emotional

distress claim should not be dismissed.


           E. Plaintiff Should Be Allowed to Refer to MIT’s Report on the Investigation of
              Alleged Sexual Misconduct by Professor Walter Lewin Without Neccesarily
              Converting This Motion Into One For Summary Judgment
       Under Fed. R. Civ. P. Rule 12 (b)(6), if on any motion asserting a particular numbered

defense mentions matters outside the pleading and are not excluded by the court, the motion may

be treated as one for summary judgment rather than as one to dismiss. See Golchin v. Liberty Mut.

Ins. Co, 460 Mass. 222, 224 (2011). This conversion, however, is not an absolute requirement

because “where…the plaintiff had notice of [the extrinsic] documents and relied on them in

framing the complaint, the attachment of such documents to a motion to dismiss does not convert

the motion to one for summary judgment.” Id. Moreover, on a Fed. R. Civ. P. 12(b)(6) motion,

the court may consider public records and other documents referred to in the complaint, without

treating the motion as one under Fed. R. Civ. P. 56. Chatman v. Gentle Ctr., 973 F.Supp. 228, 232

(D.Mass.1997).


       Allowing Plaintiff to refer to MIT’s report without converting this motion into a Summary

Judgment motion is proper as the report is central to Plaintiff’s complaint. At times a Plaintiff may

attach documents to the original complaint as well as just referring to them. The issue of attaching

a document not initially attached to the pleading was addressed in Fudge v. Penthouse Int’l, Ltd.,

840 F.2d 1012, 1015 (1st Cir. 1988), where the Court allowed Plaintiff’s to attach an article to

their complaint where the article was central to Plaintiff’s case and in order to prove the case

Plaintiff unquestionably would have had to offer a copy of the article. Similar to Fudge, in the

instant case, MIT’s Investigation report is central to Ms. Harbi’s claims against MIT as the report

provides statements made by Mr. Lewin regarding his conduct towards Ms. Harbi and illustrates


                                                 19
          Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 20 of 21




inadequacies in how MIT investigated Ms. Harbi’s complaint. In asserting various claims against

MIT in the pleading, Plaintiff made numerous references to MIT’s Investigation report in her

original complaint and will unquestionably have to present evidence contained in the report in

order to offer specific proof of her claims against MIT.3 Given that MIT’s report is central to

Plaintiffs claims against MIT, the court should consider the facts raised in the report without

necessarily converting this motion into a Summary Judgment motion. However, in the alternative,

if the court does consider the Defendant’s motion as a motion for summary judgment, then the

Plaintiff requests an opportunity to conduct necessary discovery on these issues pursuant to Fed.

R. Civ. P. Rule 56(d). See Affidavit of Attorney Angueira attached as Exhibit B. WHEREFORE,

for the reasons set forth above, Plaintiff respectfully requests this Court to deny Defendant’s

Motion to Dismiss.


                                                                        Respectfully Submitted,
                                                                        The Plaintiff,
                                                                        By His Attorney,

                                                                        /s/ David P. Angueira
                                                                        David P. Angueira, BBO #019610
                                                                        Swartz & Swartz, P.C.
                                                                        10 Marshall Street
                                                                        Boston, MA 02108
                                                                        Tel: (617) 742-1900
                                                                        Fax: (617) 367-7193
                                                                        dangueira@swartzlaw.com




3
 MIT has not filed a motion to strike any reference to the MIT report and therefore it has waived any argument that it
can be considered by the court.


                                                          20
         Case 1:16-cv-12394-FDS Document 34 Filed 04/07/17 Page 21 of 21




                                  CERTIFICATE OF SERVICE

I, David P. Angueira, Esq., hereby certify that this document filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing on
this 7th day of April 2017.

                                                        /s/ David P. Angueira
                                                        David P. Angueira, Esq.




                                                  21
